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12 (Additional counsel listed on signature page)
13                          UNITED STATES DISTRICT COURT
14                       NORTHERN DISTRICT OF CALIFORNIA
15
16 CITY AND COUNTY OF SAN                          Case No. 3:18-cv-07591-CRB
     FRANCISCO, et al.
17                                                 DEFENDANT WALGREEN CO.’S
                    Plaintiffs,                    NOTICE OF EXHIBITS
18                                                 ADMITTED SUBJECT TO
            vs.                                    OBJECTION ON JUNE 6, 2022
19
     PURDUE PHARMA L.P. et al.                     Div.: Courtroom 6
20                                                 Judge: Honorable Charles R. Breyer
                    Defendants.
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           DEFENDANT WALGREEN CO.’S NOTICE OF EXHIBITS ADMITTED SUBJECT TO OBJECTION
                                  CASE NO. 3:18-CV-07591-CRB
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 1         Defendant Walgreen Co. (“Walgreens”) hereby submits the following list of exhibits

 2 admitted subject to objection in connection with its examination of Robert L. Brunner.
 3   Ex. No.               Date           Description

 4   P-28539_00001         N/A            SF Sample Prescription Summary - Walgreens

 5   P-28539a              N/A            SF Sample Prescription Summary - Walgreens
 6   P-29397_00001         N/A            BHS/ZSFG bup data (3 excel files)
 7   P-29397a              N/A            BHS/ZSFG bup data (3 excel files)
 8   P-29397b              N/A            BHS/ZSFG bup data (3 excel files)
 9   P-29397c              N/A            BHS/ZSFG bup data (3 excel files)
10   WAG-MDL-02847         00/00/0000     Department of Health Dispensing Notes re Zuckerberg
                                          San Francisco General.xls
11
     WAG-MDL-02848         00/00/2017     Department of Health Dispensing Notes re Zuckerberg
12                                        San Francisco General Hospital
     WAG-MDL-02849         00/00/0000     Department of Health Dispensing Notes re Laguna
13                                        Honda
     WAG-MDL-02918         00/00/0000     Department of Health dispensing data re Zuckerberg
14                                        San Francisco General Outpatient Pharmacy
15   WAG-MDL-02919         00/00/0000     Department of Health dispensing data re Zuckerberg
                                          San Francisco General Outpatient Pharmacy
16   WAG-MDL-03453         12/02/2021     Appendix H - Maps of All Walgreens Stores - San
                                          Francisco and Bay Area Counties (Brunner)
17   WAG-MDL-03459         12/02/2021     McCann San Francisco and Bay Area Dispensing
                                          Production with Adjustments.txt (Brunner Appendix J)
18
     WAG-MDL-03478         12/02/2021     Prescriber Analysis.xlsx
19
     WAG-MDL-03480         12/02/2021     Summary of Walgreens Controlled and Non-Controlled
20                                        Substance Prescriptions in the Bay Area Counties.xlsx
     WAG-MDL-03482         12/02/2021     Walgreens Prescriptions by Patients Prior Visits in the
21                                        Bay Area Counties.xlsx
     WAG-MDL-03564         01/14/2022     ARCOS - Market Share Analysis (2022.01.13).xlsx
22
     WAG-MDL-03591         00/00/0000     Non-Recurrent Flagging - Method Summary
23
                                          Workbooks - SF_RF_Methods_Barry_Zevin
24                                        (2022.02.08)
     WAG-MDL-03596         00/00/0000     Non-Recurrent Flagging - Method Summary
25                                        Workbooks - SF_RF_Methods_Claire_Horton
                                          (2022.02.07)
26   WAG-MDL-03606         00/00/0000     Non-Recurrent Flagging - Method Summary
27                                        Workbooks - SF_RF_Methods_Joseph_Pace
                                          (2022.02.08)
28
                                                    1
          DEFENDANT WALGREEN CO.’S NOTICE OF EXHIBITS ADMITTED SUBJECT TO OBJECTION
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 1   WAG-MDL-03627     00/00/0000   Prescriber Summaries - Non-Recurrent Flagging -
                                    Prescription Summary Workbooks - December
 2                                  Workbooks- McC Exhibits H - O -
                                    SF_RF_Prescriptions_Barry_Zevin (2021.12.30)
 3
     WAG-MDL-03628     00/00/0000   Prescriber Summaries - Non-Recurrent Flagging -
 4                                  Prescription Summary Workbooks - December
                                    Workbooks- McC Exhibits H - O -
 5                                  SF_RF_Prescriptions_Claire_Horton (2021.12.30)
     WAG-MDL-03630     00/00/0000   Prescriber Summaries - Non-Recurrent Flagging -
 6                                  Prescription Summary Workbooks - December
 7                                  Workbooks- McC Exhibits H - O -
                                    SF_RF_Prescriptions_Joseph_Pace (2021.12.30)
 8
     DATED: June 6, 2022                 Respectfully submitted,
 9
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                                 CASE NO. 3:18-CV-07591-CRB
